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 7
 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
     KATHLEEN FIGUEIREDO, ANNE                               Case No. 3:20-cv-02852-TSH
11   KIRCHEM,
12
                             Plaintiffs,
13
14           vs.                                             NOTICE OF SETTLEMENT

15 ENCLAVE APARTMENTS
16 PROPERTY OWNER, LLC; JRK
   PROPERTY HOLDINGS, INC.; IQ
17 DATA INTERNATIONAL, INC.,
18
                             Defendants.
19
20            NOTICE IS HEREBY GIVEN that the Parties in the above-captioned case have
21   reached a settlement. Defendant IQ Data International, Inc. requests that this Honorable
22   Court vacate all pending hearing and conference dates and allow sixty (60) days with which
23   to file dispositive documentation. This Court shall retain jurisdiction over this matter until
24   full resolved.
25   ///
26
     ///
27
     ///
28

                                                         1                    Notice of Settlement
                                                                      Case No. 3:20-cv-02852-TSH
              Case 3:20-cv-02852-TSH Document 8 Filed 06/10/20 Page 2 of 2



 1
 2         RESPECTFULLY SUBMITTED this 10th day of June 2020.
 3
                         CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
 4
 5                                By: /s/ Michelle B. Wellnitz
                                          Erin E. McManis, Esq.
 6
                                          Michelle B. Wellnitz, Esq.
 7                                        1400 E. Southern Avenue, Suite 400
                                          Tempe, Arizona 85282
 8                                        Attorney for Defendant I.Q. Data International, Inc.
 9
10                                CERTIFICATE OF SERVICE
11         I hereby certify that on June 10, 2020 I transmitted the original attached document
12   to the Clerk’s Office using the CM/ECF System for filing and mailed copies of the attached
13   document to the following registrants:
14
15         Evan Livingstone, Esq.
16         Law Office of Evan Livingstone
           740 4th Street, Ste. 215
17         Santa Rosa, CA 95404
           Attorneys for Plaintiffs
18
19         Laura E. McSwiggin
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           1875 Century Park East, Suite 800
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           Attorneys for Defendants JRK Property Holdings, Inc. and
22         Enclave Apartments Property Owner, LLC
23
     By: /s/ Theresa Laubenthal
24
25
26
27
28

                                                  2                          Notice of Settlement
                                                                     Case No. 3:20-cv-02852-TSH
